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                                 Hearing Date and Time:
                                                   Pg 1August
                                                         of 22 15, 2012 at 10:00 a.m. (Prevailing Eastern Time)
                                 Objection Date and Time: August 8, 2012 at 4:00 p.m. (Prevailing Eastern Time)



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 Jacqueline Marcus

 Attorneys for Lehman Brothers Holdings Inc.
 and Lehman Brothers Special Financing Inc.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                      x
                                                                      :
 In re                                                                :       Chapter 11
                                                                      :
 LEHMAN BROTHERS HOLDINGS INC., et al.,                               :       Case No. 08-13555 (JMP)
                                                                      :
                                     Debtors.                         :       (Jointly Administered)
                                                                      :
                                                                      :
                                                                      x

                              NOTICE OF
                 MOTION PURSUANT TO RULE 9019 OF THE
     FEDERAL RULES OF BANKRUPTCY PROCEDURE FOR APPROVAL OF
 SETTLEMENT AGREEMENT AND INDEMNITY BETWEEN LEHMAN BROTHERS
      SPECIAL FINANCING INC. AND DEUTSCHE BANK TRUST COMPANY
 AMERICAS, AS TRUSTEE, RELATING TO CREDIT DEFAULT SWAP AGREEMENT

                    PLEASE TAKE NOTICE that a hearing on the annexed Motion of Lehman

 Brothers Holdings Inc. (the “Plan Administrator”) as Plan Administrator under the Modified

 Third Amended Joint Chapter 11 Plan of Lehman Brothers Holdings Inc. and Its Affiliated

 Debtors, on behalf of Lehman Brothers Special Financing Inc., pursuant to Rule 9019 of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for approval of a settlement

 agreement and indemnity agreement between LBSF and Deutsche Bank Trust Company

 Americas, as Trustee (the “Trustee”), relating to a credit default swap agreement, all as more

 fully described in the Motion, will be held before the Honorable James M. Peck, United States

 Bankruptcy Judge, at the United States Bankruptcy Court, Alexander Hamilton Customs House,


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 Courtroom 601, One Bowling Green, New York, New York 10004 (the “Bankruptcy Court”), on

 August 15, 2012 at 10:00 a.m. (Prevailing Eastern Time) (the “Hearing”).

                    PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion shall

 be in writing, shall conform to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

 Rules”) and the Local Rules of the Bankruptcy Court for the Southern District of New York,

 shall set forth the name of the objecting party, the basis for the objection and the specific grounds

 thereof, shall be filed with the Bankruptcy Court electronically in accordance with General Order

 M-242 (which can be found at www.nysb.uscourts.gov) by registered users of the Bankruptcy

 Court’s case filing system and by all other parties in interest, on a 3.5 inch disk, preferably in

 Portable Document Format (PDF), WordPerfect, or any other Windows-based word processing

 format (with two hard copies delivered directly to Chambers), and shall be served upon: (i) the

 chambers of the Honorable James M. Peck, One Bowling Green, New York, New York 10004,

 Courtroom 601; (ii) Weil Gotshal & Manges LLP, 767 Fifth Avenue, New York, New

 York 10153, Attn: Jacqueline Marcus, Esq., attorneys for the Plan Administrator; (iii) the Office

 of the United States Trustee for Region 2 (the “U.S. Trustee”), 33 Whitehall Street, 21st Floor,

 New York, New York 10004 (Attn: Elisabetta Gasparini, Esq. and Andrea B. Schwartz, Esq.);

 (iv) Nixon Peabody LLP, 100 Summer St., Boston, MA 02110, Attn: Amanda Darwin and

 Richard Pedone and (vi) any person or entity with a particularized interest in the Motion, so as to

 be so filed and received by no later than August 8, 2012 at 4:00 p.m. (prevailing Eastern

 Time) (the “Objection Deadline”).

                    PLEASE TAKE FURTHER NOTICE that if an objection to the Motion is not

 received by the Objection Deadline, the relief requested shall be deemed unopposed, and the

 Bankruptcy Court may enter an order granting the relief sought without a hearing.



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                    PLEASE TAKE FURTHER NOTICE that objecting parties are required to attend

 the Hearing, and failure to appear may result in relief being granted or denied upon default.

 Dated: July 16, 2012
        New York, New York

                                                /s/ Jacqueline Marcus
                                                Jacqueline Marcus

                                                WEIL, GOTSHAL & MANGES LLP
                                                767 Fifth Avenue
                                                New York, New York 10153
                                                Telephone: (212) 310-8000
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                                                Attorneys for Lehman Brothers Holdings Inc. and
                                                Lehman Brothers Special Financing Inc.




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 Jacqueline Marcus

 Attorneys for Lehman Brothers Holdings Inc. and
 Lehman Brothers Special Financing Inc.


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                      x
                                                                      :
 In re                                                                :       Chapter 11
                                                                      :
 LEHMAN BROTHERS HOLDINGS INC., et al.,                               :       Case No. 08-13555 (JMP)
                                                                      :
                                     Debtors.                         :       (Jointly Administered)
                                                                      :
                                                                      :
                                                                      x

                 MOTION PURSUANT TO RULE 9019 OF THE
     FEDERAL RULES OF BANKRUPTCY PROCEDURE FOR APPROVAL OF
 SETTLEMENT AGREEMENT AND INDEMNITY BETWEEN LEHMAN BROTHERS
      SPECIAL FINANCING INC. AND DEUTSCHE BANK TRUST COMPANY
 AMERICAS, AS TRUSTEE, RELATING TO CREDIT DEFAULT SWAP AGREEMENT

 TO THE HONORABLE JAMES M. PECK
 UNITED STATES BANKRUPTCY JUDGE:

                    Lehman Brothers Holdings Inc. (“LBHI” and the “Plan Administrator”) as Plan

 Administrator under the Modified Third Amended Joint Chapter 11 Plan of Lehman Brothers

 Holdings Inc. and Its Affiliated Debtors (the “Plan”), on behalf of Lehman Brothers Special

 Financing Inc. (“LBSF” and, collectively with its non-debtor affiliates, “Lehman”), files this

 Motion and respectfully represents:

                                                   Background

                    1.        Commencing on September 15, 2008, and periodically thereafter (as

 applicable, the “Commencement Date”), LBHI and certain of its subsidiaries commenced with


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 this Court voluntary cases (together, the “Chapter 11 Cases”) under chapter 11 of title 11 of the

 United States Code (the “Bankruptcy Code”).

                    2.        On December 6, 2011, the Court approved and entered an order

 confirming the Plan [ECF No. 23023]. The Plan became effective on March 6, 2012.

                                                  Jurisdiction

                    3.        This Court has subject matter jurisdiction to consider and determine this

 matter pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

                                               Relief Requested

                    4.        By this Motion, the Plan Administrator on behalf of LBSF seeks approval,

 pursuant to Bankruptcy Rule 9019, of a settlement, the terms of which are reflected in a

 settlement agreement (the “Settlement Agreement”) and a related indemnity agreement (the

 “Indemnity Agreement”),1 and that such approval be immediately effective and enforceable. The

 Settlement Agreement provides for resolution of all disputes relating to a swap transaction

 described below among LBSF, Gemstone CDO VI Ltd., as Issuer (the “Issuer”), Gemstone CDO

 VI Corp., as Co-Issuer (the “Co-Issuer”), and Deutsche Bank Trust Company Americas

 (“DBTCA” solely in its capacity as trustee under the Indenture dated August 17, 2006 (the

 “Indenture”), or the “Trustee,” and together with LBSF, the “Parties”). The Plan Administrator

 and LBSF have determined, in the exercise of their sound business judgment, that the Settlement

 Agreement and the Indemnity Agreement are in the best interests of LBSF, its estate, and its

 creditors. Accordingly, the Plan Administrator on behalf of LBSF, seeks approval of the

 Settlement Agreement and the Indemnity Agreement. Entry of an order approving and

 authorizing the Settlement Agreement and the Indemnity Agreement is a condition precedent to

 1
   A redacted copy of the Settlement Agreement and a copy of the Indemnity Agreement are
 attached hereto as Exhibits “A” and “B,” respectively. An unredacted copy of the Settlement
 Agreement will be provided to the Court upon request.

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 the effectiveness of the Settlement Agreement and the Indemnity Agreement. In addition, the

 Parties seek approval, pursuant to section 105(a) of the Bankruptcy Code, to take certain steps

 following the payment of the CDS Payment Amount and the Trustee Amount so that the Trustee

 may fully distribute any remaining collateral.

                            The Credit Default Swap Agreement and Indenture

                    5.        LBSF and the Issuer entered into a portfolio of credit derivative swap

 transactions (the “Transactions”) that were governed by a 1992 ISDA Master Agreement, dated

 as of August 16, 2006, (the “ISDA Master Agreement”) as amended and supplemented by a

 certain Schedule to ISDA Master Agreement, dated as of August 16, 2006, and those certain

 confirmations between LBSF and the Issuer, dated August 16, 2006 (collectively, the “Credit

 Default Swap Agreement”).2

                    6.        Under the Credit Default Swap Agreement, LBSF agreed to make periodic

 payments to the Issuer in exchange for the Issuer’s promise to make payments to LBSF in

 respect of losses incurred on certain specified reference obligations. In effect, LBSF, as swap

 counterparty, purchased protection from the Issuer, which sold protection on the creditworthiness

 of the obligations referenced in the Credit Default Swap Agreement.

                    7.        Under the Indenture, the Issuer issued rated notes that were secured by a

 pool of collateral that also secures the Credit Default Swap Agreement. A significant portion

 (representing more than a majority) of such collateral is contained in an account referred to in the

 Indenture as the “Synthetic Security Collateral Account” which, as the name implies, was

 established to support the Issuer’s obligations to LBSF under the Credit Default Swap

 Agreement. Through a series of note purchases, LBSF now owns more than two-thirds of the

 2
  Copies of the Credit Default Swap Agreement and Indenture are attached hereto as Exhibits
 “C” and “D,” respectively. Capitalized terms not otherwise defined herein have the meaning ascribed
 to them in the Credit Default Swap Agreement or Indenture.

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 controlling class of notes under the Indenture, as well as remaining the swap counterparty. The

 secured parties under the Indenture include LBSF, in its roles both as a noteholder of the

 controlling class and as swap counterparty, other noteholders of the controlling class and other

 classes of notes, and the Trustee and other service providers to the Issuer. The Trustee continues

 to hold the collateral on behalf of the secured parties under the Indenture and collects the

 proceeds payable on the collateral.

                    8.        Under the Granting Clause of the Indenture, the Issuer granted to the

 Trustee, for the benefit and security of the secured parties, all of its right, title and interest,

 whether now owned or hereafter acquired, in, to and under, inter alia, the Credit Default Swap

 Agreement, amounts on deposit in the Synthetic Security Collateral Account and substantially all

 other assets of the Issuer. The Indenture also irrevocably appointed the Trustee as the true and

 lawful attorney of the Issuer, with full power (in the name of the Issuer or otherwise), to exercise

 all rights of the Issuer with respect to, inter alia, the Credit Default Swap Agreement, amounts

 on deposit in the Synthetic Security Collateral Account and such other assets, and to enforce

 rights of the Issuer under or arising out of any of, inter alia, the Credit Default Swap Agreement,

 amounts on deposit in the Synthetic Security Collateral Account and such other assets of the

 Issuer.

                    9.        Under the terms of the Indenture, the Trustee applies payment proceeds

 received generally in accordance with a “waterfall” provision. See Indenture § 11.1. Amounts

 payable to LBSF with respect to the Credit Default Swap Agreement, however, are generally not

 paid in accordance with the waterfall provisions, but instead, are paid prior to any application of

 the waterfall, in accordance with separate provisions in the Indenture. See Indenture § 11.1A.

 The payment provisions applicable to LBSF with respect to the Credit Default Swap Agreement

 purport to address various scenarios under which amounts are payable by the Issuer to LBSF

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 with respect to the Credit Default Swap Agreement, including payments owed to LBSF upon

 termination of the Credit Default Swap Agreement. These provisions expressly describe that

 payments are to be paid to LBSF from the Synthetic Security Collateral Account should the

 Issuer be the defaulting party under the Credit Default Swap Agreement. There are, however, no

 comparable provisions that describe how payment is to be made to LBSF upon termination of the

 swap should LBSF be the defaulting party, or how amounts contained in the Synthetic Security

 Collateral Account are to be applied in that circumstance.

                                                The Dispute

                    10.       LBSF received a “Notice Designating An Early Termination Date

 Pursuant to Section 6(a) of the ISDA Master Agreement,” dated September 16, 2008, with

 respect to the Credit Default Swap Agreement. On September 29, 2008, HBK Master Fund L.P.,

 in its capacity as Collateral Manager under the Indenture, delivered a letter to LBSF notifying

 LBSF that the termination payment owed by the Issuer to LBSF as of September 16, 2008, was

 $206,350,430.45, which amount does not take into account any interest accrued thereon. As of

 the date hereof, however, neither party to the Credit Default Swap Agreement has paid any

 amounts (including termination payments) that may have become due to the other party on or

 after September 16, 2008, as a result of a dispute between LBSF and the Trustee regarding,

 among other things, the terms of the Indenture applicable to the payment of termination

 payments owed to LBSF in connection with a termination of the Credit Default Swap Agreement

 when LBSF is the defaulting party (the “CDS Payment Dispute”).

                    11.       On September 14, 2010, LBSF filed a complaint against, among others,

 the Trustee and the Issuer. See Adversary Proceeding No. 10-03542-JMP (the “Litigation”). At

 issue in the Litigation is the CDS Payment Dispute, including questions as to the proper

 interpretation of the Credit Default Swap Agreement or the Indenture under which the

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 commencement of LBHI or LBSF’s bankruptcy case would operate to deprive LBSF of a

 valuable property interest, namely its right to be paid its termination payment from, among other

 things, amounts on deposit in the Synthetic Security Collateral Account. The Litigation relates

 to the instant CDS Payment Dispute among the Parties, as well as other similar disputes

 involving other issuers and trustees.

                    12.       In the Litigation, LBSF seeks a declaratory judgment that provisions

 purporting to modify LBSF’s substantial economic rights to a termination payment premised on

 the bankruptcy filing of either LBHI or LBSF constitute unenforceable ipso facto clauses that

 inappropriately modify a debtor’s interest in property, in violation of sections 365(e)(1) and

 541(c)(1) of the Bankruptcy Code. LBSF also seeks a declaratory judgment that effectuation of

 such provisions violates the automatic stay under section 362(a)(3) of the Bankruptcy Code

 because it involves an improper exercise of control over property of LBSF’s estate. In the

 alternative, LBSF seeks a declaratory judgment that, if such provisions ultimately are found to be

 enforceable in whole or in part, they constituted either (i) a preferential transfer of an interest of

 LBSF in property that may be avoided under section 547 of the Bankruptcy Code, recovered

 under section 550 of the Bankruptcy Code, and preserved for the benefit of LBSF’s estate under

 section 551 of the Bankruptcy Code; (ii) a constructive fraudulent transfer of an interest of LBSF

 in property that may be avoided under section 548(a)(1)(B) of the Bankruptcy Code, recovered

 under section 550 of the Bankruptcy Code, and preserved for the benefit of LBSF’s estate under

 section 551 of the Bankruptcy Code; or (iii) an unauthorized postpetition transfer of property of

 LBSF’s estate that may be avoided under section 549 of the Bankruptcy Code, recovered under

 section 550 of the Bankruptcy Code, and preserved for the benefit of LBSF’s estate under section

 551 of the Bankruptcy Code.



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                    13.       The Court issued the Order Extending Stay of Avoidance Actions and

 Granting Certain Related Relief Pursuant to Section 105(A) of the Bankruptcy Code and

 Bankruptcy Rule 7004(A)(1), dated January 11, 2012 (the “Stay”), thereby staying the Litigation,

 to give parties to this and other similar actions time to attempt to resolve their disputes.

 Accordingly, as a result of the Stay, the Issuer and the Trustee have not answered or otherwise

 moved for any relief in the Litigation.3 At various junctures following the commencement of the

 Litigation, LBSF and the Trustee have engaged in settlement discussions.

                    14.       A majority of the controlling class, which is now LBSF due to its purchase

 of more than two-thirds of the Class A-1 Notes, has the right, among others, to direct the time,

 method and place of conducting any proceeding, such as the Litigation, for any remedy available

 to the Trustee, pursuant to Section 5.13 of the Indenture, notwithstanding any other provision of

 the Indenture. This right to direct the Trustee with regard to the Litigation is subject to certain

 conditions, including the Trustee’s right to request reasonable indemnification.

                    15.       Consistent with the rights granted LBSF under the Indenture in its

 capacity as the majority holder of the controlling class, LBSF has instructed the Trustee,

 pursuant to a letter dated July 15, 2012, to enter into the Settlement Agreement and to perform its

 obligations thereunder in order to resolve the CDS Payment Dispute and the Litigation to the

 extent they involve the Issuer and the Trustee. The Trustee has advised LBSF that it is prepared

 to enter into the Settlement Agreement provided: (i) LBSF executes the Indemnity Agreement,

 and (ii) the Court approves the terms of the Settlement Agreement and Indemnity Agreement

 pursuant to the terms of Bankruptcy Rule 9019.




 3
  By motion dated June 29, 2012, the Plan Administrator has requested a further extension of the
 Stay.

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                           The Settlement Agreement and Indemnity Agreement

                    16.       The salient terms of the Settlement Agreement are as follows:

                    •     The Trustee shall pay (a) the CDS Payment Amount (as defined in the
                          Settlement Agreement) to LBSF and (b) the Trustee Amount (as defined in the
                          Settlement Agreement) to the Trustee for its fees and expenses and those of its
                          counsel and financial advisors, in each case without deduction, set-off or
                          counterclaim, from amounts on deposit in the Synthetic Security Collateral
                          Account.

                    •     Following such payments, amounts remaining in the Synthetic Security
                          Collateral Account shall be deemed Principal Proceeds (as defined in the
                          Indenture) and be credited to the Principal Collection Account (as defined in
                          the Indenture), for further application on the next Distribution Date (as
                          defined in the Indenture) in accordance with the terms of the Indenture.

                    •     To the extent LBSF is a holder of Class A-1 Notes on the record date with
                          respect to such Distribution Date, LBSF will be entitled to payments in such
                          capacity in accordance with the Indenture.

                    •     The Parties will exchange a mutual release of all claims related to the Credit
                          Default Swap Agreement, Indenture, and CDS Payment Dispute, provided
                          that LBSF’s release is limited to its capacity as counterparty to the Credit
                          Default Swap Agreement and does not deprive LBSF of any of its rights as a
                          holder of Class A-1 Notes.

                    •     Upon receipt of the Settlement Amount in full by LBSF: (i) LBSF will
                          execute and file on the docket in the Litigation a Stipulation of Dismissal with
                          Prejudice, dismissing the Issuer, Co-Issuer, and the Trustee, solely in the
                          Trustee’s capacity as Trustee under the Indenture from the Litigation, and
                          (ii) all proofs of claims filed against the Debtors in respect of the Credit
                          Default Swap Agreement or Indenture will be withdrawn, with prejudice.

                    •     Subject to the terms of the Indemnity Agreement and the payment to the
                          Trustee of the Trustee Amount, each party will bear its own costs and
                          expenses relating to the Litigation and the Settlement Agreement.

                    •     After the payment of the CDS Payment Amount and the Trustee Amount, the
                          collateral will be liquidated pursuant to the Wind-Down Provisions (defined
                          below) and the remaining funds will be distributed in accordance with the
                          Indenture.


                    17.       The salient terms of the Indemnity Agreement are as follows:

                    •     LBSF agrees to pay to the Trustee, on demand for, and to indemnify and hold
                          harmless from and against, any and all losses, liabilities, judgments, claims,
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                          causes of actions, damages, costs (including court costs), expenses, fees
                          (including reasonable legal fees, costs and expenses), penalties,
                          disbursements, and liabilities of any kind or character whatsoever, and
                          whether brought by or involving any third party or LBSF that directly or
                          indirectly arise out of the Indemnity Agreement, any direction provided by
                          LBSF to the Trustee (including a direction to enter into the Settlement
                          Agreement), or payment to LBSF by the Trustee of a termination payment.

                    •     The term of the Indemnity Agreement is limited to the earliest to occur of
                          (A) the sixth anniversary of the final distribution of the proceeds of a
                          liquidation of all of the Collateral and (B) the sixth anniversary of the
                          effective date of the Settlement Agreement, subject to further extension for
                          actions that are pending or threatened in writing prior to the expiration of such
                          term.

                    •     No indemnity is provided by LBSF if there is a final determination by a court
                          of competent jurisdiction that is not subject to review on appeal that any
                          otherwise covered losses are the result of gross negligence, willful misconduct
                          or fraud by the Trustee or any other indemnified person.

                                     Wind-down and Dissolution of the Issuer

                    18.       The collateral held by the Trustee for the benefit of the secured parties will

 be substantially reduced by the payment of the CDS Payment Amount to LBSF and the Trustee

 Amount to the Trustee. The remaining collateral will only be sufficient to pay the holders of

 Class A Notes at any future Distribution Date a portion of the balance of the principal and

 interest owed to them. The remaining assets of the Issuer, therefore, will not be sufficient to

 make any further payments to holders of any other classes of notes. While section 5.5 of the

 Indenture requires the Trustee to be instructed by at least two-thirds of the holders of each class

 in order to liquidate the collateral and distribute the remaining funds in accordance with the

 waterfall, this provision was not drafted with the expectation that several classes of noteholders

 would have no economic interest in the collateral. Requiring the Trustee to continue holding the

 collateral will not benefit any of the noteholders, and will only result in an unnecessary depletion

 of value due to the need to pay periodic expenses such as the fees of the Trustee, the Trustee’s

 professionals and other service providers. Accordingly, LBSF and the Trustee have agreed to the

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 following mechanism (the “Wind-Down Provisions”) pursuant to which the remaining collateral

 will be distributed following the payment of the CDS Payment Amount and the Trustee Amount:

                    •     As the holder of at least two-thirds of the Class A Notes (i.e., the only class
                          with a remaining economic interest in the collateral), LBSF may give a
                          liquidation direction to the Trustee pursuant to 5.5 of the Indenture and the
                          Indemnity Agreement, instructing the Trustee to liquidate the collateral and
                          distribute the remaining proceeds in accordance with the applicable provisions
                          of the Indenture (the “Liquidation Direction”).

                    •     Following receipt of the Liquidation Direction, the Trustee will notify the
                          other noteholders that the holders of at least two-thirds of the Class A Notes
                          have instructed the Trustee to liquidate the collateral and distribute the
                          proceeds thereof in accordance with the Indenture. Noteholders will be
                          provided with 30 days to object to the liquidation of the collateral.

                    •     If fewer than one-third of the holders of any class of notes object to the
                          liquidation of the collateral, the Trustee will be deemed to have the consent of
                          at least two-thirds of the holders of each class and will liquidate the collateral
                          and distribute the remaining funds in accordance with the terms of the
                          Indenture.

                    19.       Although the provisions of the Indenture arguably require holders of other

 classes of notes to provide a direction similar to the Liquidation Direction, the Parties do not

 believe that noteholders of classes other than the Class A Notes will oppose the Liquidation

 Direction, given that the remaining collateral is only sufficient to pay the holders of Class A

 Notes in any future distribution. Indeed, given that they have no further economic interest in the

 collateral, holders of notes other than Class A Notes would be expected to have no views one

 way or another regarding the retention or disposition of the collateral. However, if more than

 one-third of the holders of any class of notes objects to the liquidation of the collateral, the

 Trustee will take no further action with respect to the Liquidation Direction and will continue to

 administer the collateral in accordance with the Indenture unless and until the direction of two–

 thirds majority of that class have been obtained. As such, the Wind-Down Provisions

 summarized above should not affect the substantive rights of any noteholders, and will only



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 serve to expedite the wind-down and dissolution of the Issuer and to maximize the value of the

 remaining collateral for the benefit of the Issuer’s only residual stakeholders, including LBSF.

                          The Settlement Agreement and the Indemnity
                  Agreement are in LBSF’s Best Interests and Should Be Approved

                    20.       The Plan Administrator on behalf of LBSF submits that the Settlement

 Agreement and the Indemnity Agreement are in LBSF’s best interests and should be approved

 under Rule 9019 of the Bankruptcy Rules. Bankruptcy Rule 9019(a) provides “[o]n motion by

 the trustee and after notice and a hearing, the court may approve a compromise and settlement.”

 Fed. R. Bankr. R. 9019(a). This rule empowers bankruptcy courts to approve settlements “if

 they are in the best interests of the estate.” In re Drexel Burnham Lambert Group, Inc., 134 B.R.

 499, 505 (Bankr. S.D.N.Y. 1991). The settlement need not result in the best possible outcome

 for the debtor, but must not “fall beneath the lowest point in the range of reasonableness.” Id.;

 see also Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir. 1983); In re

 Spielfogel, 211 B.R. 133, 144 (Bankr. E.D.N.Y. 1997).

                    21.       Compromises are “a normal part of the process of reorganization.” Prot.

 Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424

 (1968) (quoting Case v. Los Angeles Lumber Prods. Co., 308 U.S. 106, 130 (1939)).

 Compromises may be effected separately during the reorganization proceedings or in the body of

 the plan itself. In re Drexel Burnham Lambert Group Inc., 138 B.R. at 758. The decision to

 approve a particular compromise lies within the sound discretion of the bankruptcy court. See

 Nellis v. Shugrue, 165 B.R. 115, 123 (S.D.N.Y. 1994). The court’s discretion may be exercised

 “in light of the general public policy favoring settlements.” In re Hibbard Brown & Co., Inc.,

 217 B.R. 41, 46 (Bankr. S.D.N.Y. 1998). A proposed compromise and settlement implicates the

 issue of whether it is “fair and equitable, and in the best interest of the [debtor’s] estate.” In re

 Best Products, 165 B.R. 35, 50 (Bankr. S.D.N.Y. 1994) (internal citations omitted). The court
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 must apprise itself “of all relevant facts necessary for an intelligent and objective opinion of the

 probabilities of ultimate success should the claim be litigated.” Prot. Comm. for Indep.

 Stockholders of TMT Trailer Ferry, Inc., 390 U.S. at 424.

                    22.       Courts typically consider the following factors in determining whether a

 settlement should be approved: (i) the probability of success in litigation, with due consideration

 for the uncertainty in fact and law; (ii) the difficulties of collecting any litigated judgment;

 (iii) the complexity and likely duration of the litigation and any attendant expense,

 inconvenience, and delay; (iv) the proportion of creditors who do not object to, or who

 affirmatively support, the proposed settlement; (v) the competence and experience of counsel

 who support the settlement; (vi) the relative benefits to be received by members of any affected

 class; (vii) the extent to which the settlement is truly the product of arm’s-length bargaining and

 not the product of fraud or collusion; and (viii) the debtor’s informed judgment that the

 settlement is fair and reasonable. See Protective Comm. for Indep. Stockholders of TMT Trailer

 Ferry, Inc., 390 U.S. at 424; In re Ashford Hotels, Ltd., 226 B.R. 797, 804 (Bankr. S.D.N.Y.

 1998); In re Best Prods. Co., 168 B.R. at 50.

                    23.       While a court must “evaluate. . .all. . .factors relevant to a fair and full

 assessment of the wisdom of the proposed compromise,” Anderson, 390 U.S. at 424-25, a court

 need not conduct a “mini-trial” of the merits of the claims being settled, Cosoff v. Rodman (In re

 W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir. 1983), or conduct a full independent investigation.

 Drexel Burnham Lambert Group, 134 B.R. at 496. Moreover, in reviewing a global

 compromise, the court need not be aware of or decide the particulars of each individual claim

 resolved by the settlement or “assess the minutia of each and every claim”; rather, the court

 “need only canvass the issues and see whether the settlement falls ‘below the lowest point in the

 range of reasonableness.’” Shugrue, 165 B.R. at 123. As one court explained in assessing a

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 global settlement of claims, “[t]he appropriate inquiry is whether the Settlement Agreement in its

 entirety is appropriate for the . . . estate.” Air Line Pilots Ass’n, Int’l v. Am. Nat’l Bank & Trust

 Co. (In re Ionosphere Clubs, Inc.), 156 B.R. 414, 430 (S.D.N.Y. 1993), aff’d 17 F.3d 600 (2d

 Cir. 1993) (emphasis added).

                    24.       The Settlement Agreement and the corresponding Indemnity Agreement

 will benefit LBSF and its creditors. First, the settlement will result in a substantial payment to

 LBSF’s estate. LBSF has determined, in the exercise of its business judgment, that such

 payment will adequately compensate the estate for the value of its economic position as swap

 counterparty and two-thirds majority holder of the controlling class of notes. Second, the

 Settlement Agreement will avoid future litigation concerning the CDS Payment Dispute because

 the Parties have agreed to release one another from claims thereunder. Thus, the Settlement

 Agreement, and by necessity the Indemnity Agreement, will allow LBSF to capture a substantial

 amount of the value of the Transactions and notes for its estate, while avoiding the costs

 associated with continuation of the pending litigation.

                    25.       For the reasons stated above, and in the Plan Administrator’s informed

 business judgment, the compromises set forth in the Settlement Agreement and the

 corresponding Indemnity Agreement are a “fair and equitable” resolution of the issues described

 herein, are well within the “range of reasonableness,” and are in the best interests of LBSF’s

 estate and its creditors. Accordingly, the Plan Administrator requests that the Settlement

 Agreement and Indemnity Agreement be approved, effective immediately upon entry of an order

 granting the relief requested herein.

                        The Bankruptcy Court Has Authority Pursuant to
          Section 105(a) of the Bankruptcy Code to Approve the Wind-Down Provisions

                    26.       To comply with these provisions of the Settlement Agreement, the Parties

 seek approval of the Wind-Down Provisions pursuant to section 105(a) of the Bankruptcy Code
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 so that the remaining collateral may be liquidated and distributed. This Court has authority

 under the broad equitable powers of Bankruptcy Code set forth in section 105(a) to approve the

 Wind-Down Provisions. Courts have used their equitable powers to permit deviations in trust

 agreements in order to preserve and protect a trust or where circumstances exist that would

 defeat or substantially impair the accomplishment of the purposes of the trust. See e.g., In re

 A.H. Robbins, 880 F.2d 769, 776 (4th Cir. 1989) (noting that section 105(a) authorizes the court

 to “issue any order, process or judgment that is necessary or appropriate to carry out the

 provisions” of the Bankruptcy Code and finding that matters relating to the control and

 supervision of trusts are within the equity jurisdiction of the court); In re Joint Eastern and

 Southern Districts Asbestos Litigation, 878 F. Supp. 473 (E.D.N.Y. & S.D.N.Y. 1995) and 129

 B.R. 710 (E.D.N.Y. & S.D.N.Y. 1991) (holding that section 105(a) authorizes the federal courts

 in bankruptcy cases to approve a settlement modifying distributions, obligations, and payment

 procedures under a trust). Similarly here, the Court has authority under section 105(a) of the

 Bankruptcy Code to authorize the Trustee to deviate from the terms of the Indenture, where strict

 adherence to the terms of the Indenture would frustrate the Issuer’s sole remaining economic

 stakeholders from maximizing the value of the collateral held under the Indenture by the Trustee

 for the benefit of the Issuer’s noteholders.

                    27.       This Court has granted relief in these chapter 11 cases, pursuant to section

 105(a) of the Bankruptcy Code, similar to the relief requested in the Motion. U.S. Bank, as

 indenture trustee under several indentures, filed a motion, dated January 28, 2010 [Docket No.

 6811] (the “U.S. Bank Motion”), pursuant to section 105(a), for authorization, among other

 things, for the disposition of the assets of the Lehman Brothers ABS Enhanced Libor Fund (the

 “Feeder Fund”) through the exchange of the units in the Feeder Fund for shares in the Lehman

 Brothers ABS Enhanced Libor, Ltd. (the “Master Fund”) and the transfer of the rights to manage

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 the Master Fund’s portfolio to TCW Asset Management Company. On March 25, 2010, this

 Court entered an order, pursuant to section 105(a) of the Bankruptcy Code, approving the U.S.

 Bank Motion [Docket No. 7830].

                    28.       Here, the use of the Court’s equitable authority is justified and

 appropriate. Implementation of the Wind-Down Provisions will leave all noteholders (except the

 holders of Class A Notes) in exactly the same position as they would be in otherwise absent

 implementation of such provisions. As stated above, after payment of the CDS Payment Amount

 to LBSF and the Trustee Amount to the Trustee, the collateral that remains will only be

 sufficient to make applicable payments to the holders of Class A Notes on any future

 Distribution Date. The holders of all other classes of notes other than Class A should therefore

 be indifferent as to whether the remaining collateral is distributed today or at any future date,

 because they will never receive a payment under the waterfall in either case. Moreover, any

 noteholders who disagree with that conclusion will have the opportunity to lodge an objection

 with the Trustee.

                    29.       On the other hand, liquidation and distribution of the remaining collateral

 pursuant to the Wind-Down Provisions is manifestly in the best interests of the holders of Class

 A Notes, including LBSF, for two reasons. First, the liquidation will accelerate receipt of

 distributions by the only noteholders that would otherwise be entitled to receive any remaining

 value – the holders of Class A Notes – of which LBSF holds at least two-thirds (LBSF is entitled

 under the express terms of the Indenture to direct liquidation on behalf of the holders of Class A

 Notes). Second, liquidation will avoid the diminution of value that would otherwise result from

 the continued accrual of the Issuer’s administrative expenses if the collateral remains

 unliquidated. A failure to act would therefore surely frustrate and impair the intention and

 purpose of the Indenture and the Settlement Agreement.

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                                                    Notice

                    30.       No trustee has been appointed in the Chapter 11 Cases. The Plan

 Administrator has served notice of this Motion in accordance with the procedures set forth in the

 second amended order entered on June 17, 2010, governing case management and administrative

 procedures for these cases [ECF No. 9635] on (i) the U.S. Trustee for Region 2; (ii) the

 Securities and Exchange Commission; (iii) the Internal Revenue Service; (iv) the United States

 Attorney for the Southern District of New York; (v) the attorneys for the Trustee; and (vi) all

 parties who have requested notice in the Chapter 11 Cases. The Plan Administrator submits that

 no other or further notice need be provided.

                    31.       No previous request for the relief sought herein has been made by the Plan

 Administrator to this or any other Court.

                    WHEREFORE the Plan Administrator on behalf of LBSF respectfully requests

 that the Court grant the relief requested herein and such other and further relief as it deems just

 and proper.

 Dated: July 16, 2012
        New York, New York
                                                    /s/ Jacqueline Marcus
                                                    Jacqueline Marcus
                                                    WEIL, GOTSHAL & MANGES LLP
                                                    767 Fifth Avenue
                                                    New York, New York 10153
                                                    Telephone: (212) 310-8000
                                                    Facsimile: (212) 310-8007
                                                    Attorneys for Lehman Brothers Holdings Inc. and
                                                    Lehman Brothers Special Financing Inc.




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 UNITED STATES BANKRUPTCY COURT

 SOUTHERN DISTRICT OF NEW YORK
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                                                                    :
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
                                                                    :


 ________________________________________________

         ORDER PURSUANT TO RULE 9019 OF THE FEDERAL RULES
      OF BANKRUPTCY PROCEDURE FOR APPROVAL OF SETTLEMENT
  AGREEMENT AND INDEMNITY AGREEMENT BETWEEN LEHMAN BROTHERS
     SPECIAL FINANCING INC. AND DEUTSCHE BANK TRUST COMPANY
 AMERICAS, AS TRUSTEE, RELATING TO CREDIT DEFAULT SWAP AGREEMENT

                    Upon the motion, dated July 16, 2012 (the “Motion”), of Lehman Brothers

 Holdings Inc. (the “Plan Administrator”) as Plan Administrator under the Modified Third

 Amended Joint Chapter 11 Plan of Lehman Brothers Holdings Inc. and Its Affiliated Debtors, on

 behalf of Lehman Brothers Special Financing Inc. (“LBSF”), pursuant to Rule 9019 of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for approval of a settlement

 agreement (the “Settlement Agreement”) and an indemnity agreement (the “Indemnity

 Agreement”) between LBSF and Deutsche Bank Trust Company Americas, as Trustee (the

 “Trustee”), relating to a credit default swap agreement, all as more fully described in the Motion;

 and the Court having jurisdiction to consider the Motion and the relief requested therein in

 accordance with 28 U.S.C. §§ 157 and 1334 and the Standing Order M-61 Referring to

 Bankruptcy Judges for the Southern District of New York Any and All Proceedings Under Title

 11, dated July 10, 1984 (Ward, Acting C.J.); and consideration of the Motion and the relief




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 requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

 proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of

 the Motion having been provided in accordance with the procedures set forth in the amended

 order entered on June 17, 2010, governing case management and administrative procedures for

 these cases [ECF No. 9635] on (i) the U.S. Trustee for Region 2; (ii) the Securities and Exchange

 Commission; (iii) the Internal Revenue Service; (iv) the United States Attorney for the Southern

 District of New York; (v) the attorneys for the Trustee; and (vi) all parties who have requested

 notice in the Chapter 11 Cases, and it appearing that no other or further notice need be provided;

 and a hearing (the “Hearing”) having been held to consider the relief requested in the Motion;

 and the Court having found and determined that the relief sought in the Motion is in the best

 interests of LBSF, its estate, its creditors, and all parties in interest and that the legal and factual

 bases set forth in the Motion establish just cause for the relief granted herein; and after due

 deliberation and sufficient cause appearing therefor, it is

                    ORDERED that the Motion is granted; and it is further

                    ORDERED that, pursuant to Bankruptcy Rule 9019, the Settlement Agreement

 and the Indemnity Agreement are approved; and it is further

                    ORDERED that LBSF is authorized to execute, deliver, implement and fully

 perform any and all obligations, instruments, documents and papers and to take any and all

 actions reasonably necessary or appropriate to consummate the Settlement Agreement and the

 Indemnity Agreement and to perform any and all obligations contemplated therein; and it is

 further




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                     ORDERED that the Trustee is authorized to pay the CDS Payment Amount1 and

 the Trustee Amount from the Synthetic Security Collateral Account, and to distribute the

 remaining funds in such account, in accordance with the terms of the Settlement Agreement; and

 it is further

                     ORDERED that the Trustee is authorized to effectuate the Wind-Down Provisions

 for the purpose of liquidating any remaining collateral and distributing the proceeds thereof in

 accordance with the terms set forth in the Indenture; and it is further

                     ORDERED that the terms of this Order shall be immediately effective and

 enforceable upon its entry; and it is further

                     ORDERED that notice of the Motion as provided therein shall be deemed good

 and sufficient notice of such Motion; and it is further

                     ORDERED that this Court retains jurisdiction with respect to all matters arising

 from or related to the implementation of this Order.

 Dated: __________, 2012
        New York, New York

                                                        ____________________________________
                                                        UNITED STATES BANKRUPTCY JUDGE




 1
     Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.



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